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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Civil Action No. 1:21-cv-01670-NYW

 TRAVIS MULLENIX,
         Plaintiff/Counter Defendant,
 v.
 DEMIAN LAPLANTE,
         Defendant/Counter Claimant.


      EMERGENCY MOTION TO RESTRICT ACCESS TO PLAINTIFF’S RESPONSE TO
      DEFENDANT’S MOTION TO DISQUALIFY DR. MELINDA FOUTS AS AN EXPERT
                 WITNESS FOR PLAINTIFF (DOCS. #61, #61-1, #61-2)

         Defendant Demian LaPlante (“Mr. LaPlante”) hereby files this Emergency Motion to

 Restrict Access to Plaintiff’s Response to Mr. LaPlante’s Motion to Disqualify Dr. Melinda

 Fouts as an Expert Witness for Plaintiff (the “Response”) and Exhibits 1 and 2 thereto (Docs.

 #61, #61-1, and #61-2).

         Plaintiff Travis Mullenix (“Plaintiff”) has endorsed Dr. Fouts, the former group/family

 therapist of Mr. LaPlante and Plaintiff, as an expert witness to testify to legally privileged,

 deeply personal information disclosed during confidential therapy sessions involving Mr.

 LaPlante, Plaintiff, and licensed therapist Dr. Fouts. (Doc. #61-1, at 1 (“We anticipate [Dr.

 Fouts] will testify about the psychological treatment that she administered to . . . [Mr.

 LaPlante].”) (emphasis added).) The Court previously struck this same material from Plaintiff’s

 Complaint as privileged and inadmissible. (See Doc. #47.) Plaintiff, nonetheless, persists in his
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 efforts to bring facially therapist-privileged information into this case, necessitating Mr.

 LaPlante’s filing of the Motion to Disqualify.

        The Motion to Disqualify seeks to disqualify Dr. Fouts as an expert witness for Plaintiff

 because Mr. LaPlante (1) had an objectively reasonable belief that he established a confidential

 relationship with Dr. Fouts; and (2) in fact disclosed confidential information to Dr. Fouts. (See

 generally Doc. #56.) The District of Colorado has held that, under these circumstances, the

 expert should be disqualified. See Excel Jet, Ltd. v. United States, 2009 WL 1194936, at *2 (D.

 Colo. May 1, 2009). Mr. LaPlante filed his Motion to Disqualify as restricted at Level 1, with a

 corresponding publicly available version, with redactions of specific references to Mr.

 LaPlante’s therapy sessions and treatment. This was in accordance with the Court’s prior order

 addressing this same issue. (See Doc. #24, at 5.)

        Plaintiff, by contrast, has now elected to publicly file his Response in opposition to Mr.

 LaPlante’s Motion to Disqualify - without redactions. As of this writing, then, courtesy of

 Plaintiff, anyone can review and download the entire unredacted therapist-patient privileged

 letter that is at the heart of the present dispute, and which this Court has already declared to be

 confidential. Plaintiff’s Response, moreover, addresses the specifics of therapist-privileged

 material that Mr. LaPlante disclosed to Dr. Fouts (to which Plaintiff has endorsed Dr. Fouts to

 testify); Exhibit 1 to the Response is Plaintiff’s Expert Disclosure (which itself reveals such

 information); and Exhibit 2 to the Response is the Fouts Letter (which this Court has previously

 ordered restricted at Level 1).

        Plaintiff’s decision to publicly file these pleadings not only further damages Mr.

 LaPlante’s privacy interests (see Doc. #50, ¶¶ 43-50), but is also in flagrant violation of this


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 Court’s prior order.    This Court, after all, has already restricted identical information—

 specifically, the Fouts Letter, which the Response quotes from directly and attaches as an

 exhibit—reasoning that “[Mr. LaPlante’s] privacy interests here warrant restriction of highly

 sensitive information related to his therapy treatment.” (Doc. #24, at 5.) Pursuant to that prior

 order, Plaintiff should have filed the Response and Exhibit 1 as restricted at Level 1, with

 corresponding publicly available versions “with redactions of specific references to Mr.

 LaPlante’s therapy sessions and treatment.”       (Id.)   Exhibit 2 is privileged in its entirety;

 therefore, redaction is not practicable, and it likewise should have been filed as restricted at

 Level 1.

                               CERTIFICATE OF CONFERRAL

        Pursuant to D.C.COLO.LCivR 7.1(a), undersigned counsel certify that they conferred in

 good faith with Plaintiff’s counsel regarding this motion. Upon being immediately contacted by

 undersigned counsel about the issue, Plaintiff’s counsel has reserved his substantive “waiver”

 arguments, but, as of this filing, has declined to formally commit to not opposing the instant

 motion, despite multiple email communications and a telephonic conference with undersigned

 counsel in which counsel sought to emphasize the serious harm and anguish Plaintiff’s conduct

 was causing Mr. LaPlante. So, while Plaintiff’s counsel ultimately may choose to not oppose the

 instant motion,1 it is his conduct that has put Mr. LaPlante in the regrettable situation of knowing

 that his deeply personal materials are publicly available over the weekend. 2



 1Mr. LaPlante reserves his right to seek Rule 11 sanctions against Plaintiff’s counsel, including
 but not limited to attorneys’ fees expended in drafting the instant motion, given Plaintiff’s
 counsel’s flagrant disregard of the Court’s prior order and the ongoing harm to Mr. LaPlante’s
 privacy interests. Although undersigned counsel understands that Plaintiff’s counsel may
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                                       LEGAL STANDARD

        D.C.COLO.LCivR 7.2(c) sets forth the standard for restriction of filings. A motion to

 restrict must:

        (1) identify the document or the proceeding for which restriction is sought;
        (2) address the interest to be protected and why such interest outweighs the
        presumption of public access (stipulations between the parties or stipulated
        protective orders with regard to discovery, alone, are insufficient to justify
        restriction);
        (3) identify a clearly defined and serious injury that would result if access is not
        restricted;
        (4) explain why no alternative to restriction is practicable or why only restriction
        will adequately protect the interest in question (e.g., redaction, summarization,
        restricted access to exhibits or portions of exhibits); and
        (5) identify the level of restriction sought.




 disagree with the Court’s prior order granting in part Mr. LaPlante’s motions to restrict (Doc.
 #24) in light of Mr. LaPlante filing his counterclaim, the burden is on Plaintiff to petition the
 Court to modify its prior order. To put a finer point on it, Plaintiff should not be able to publicly
 file material that the Court already has ruled should be restricted, in violation of a clear Court
 order to Mr. LaPlante’s detriment, without consequence. Nor should Mr. LaPlante be forced to
 pay his counsel to continue litigating this issue ad nauseum.
 2 Mr. LaPlante’s counsel shortly after reviewing Plaintiff’s Thursday evening filing laid out the

 impropriety of Plaintiff’s conduct and demanded immediate action on Plaintiff’s part. Plaintiff’s
 conduct, regardless of whether intentional or merely reckless, resulted in Mr. LaPlante’s counsel
 having to immediately prepare the instant Motion. Plaintiff’s counsel, for his part, was asked to
 do nothing more than to review it and agree or disagree to its bottom-line request. Plaintiff’s
 counsel, upon receiving the draft Motion, however, rejected Mr. LaPlante’s reasonable and
 explicit request and indicated that he intended to respond by Monday (December 6). As
 expressed in prior communications to Plaintiff’s counsel, however, Mr. LaPlante is concerned
 that Plaintiff’s counsel’s actions in procuring the privileged letter in the first place,
 unsuccessfully seeking to make it public, seeking to call the author as an “expert witness,” and
 now simply putting it in the public domain, reflect, at best, a serious disregard for Mr. LaPlante’s
 privacy interests and this Court’s prior orders. Notably, Plaintiff’s counsel has previously
 threatened that Mr. LaPlante “faces substantial risk . . . in the media” if the case continues.
 Against this backdrop, it would be unreasonable for Mr. LaPlante to agree to make the filing of
 this Motion reliant on Plaintiff counsel’s self-selected schedule, particularly when the law is as
 clear, and the misconduct as unambiguous, as here.
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 D.C.COLO.LCivR 7.2(c).

        “Courts have long recognized a common-law right of access to judicial records, but this

 right is not absolute.” JetAway Aviation, LLC v. Bd. of County Com’rs of County of Montrose,

 Colo., 754 F.3d 824, 826 (10th Cir. 2014) (internal quotations omitted). Courts may, in their

 discretion, “seal documents if the public’s right of access is outweighed by competing interests.”

 Id. (internal quotations omitted). “To overcome this presumption against sealing, the party

 seeking to seal records must articulate a real and substantial interest that justifies depriving the

 public of access to the records that inform [the court’s] decision-making process.” Id. (internal

 quotations omitted). The Tenth Circuit has “previously recognized that the privacy interest

 inherent in personal medical information can overcome the presumption of public access.”

 United States v. Dillard, 795 F.3d 1191, 1205-06 (10th Cir. 2015) (citing Eugene S. v. Horizon

 Blue Cross Blue Shield of New Jersey, 663 F.3d 1124, 1135-36 (10th Cir. 2011); Russell v.

 Lanier, 404 F. App’x 288, 289 n. 2 (10th Cir. 2010)).

        This Court previously has held that “[Mr. LaPlante’s] privacy interests here warrant

 restriction of highly sensitive information related to his therapy treatment.” (Doc. #24, at 5.)

 The Court instructed the parties to redact “specific references to Mr. LaPlante’s therapy sessions

 and treatment” and concluded that “redaction of any specific references to information contained

 in [the Fouts Letter], Paragraphs 202 through 204 of the Complaints, and/or conversations

 between the Parties and Dr. Fouts . . . strikes the appropriate balance between Mr. LaPlante’s

 privacy interests and the public interest in access to ligation materials.” (Id.)




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                                           ARGUMENT

 1.     Because the Response and Exhibits 1 and 2 thereto (Docs. #61, #61-1, #61-2) address
        privileged/confidential information shared during therapy sessions with a licensed
        therapist, they should be restricted.

        Below, Mr. LaPlante addresses how each factor set forth in Local Rule 7.2(c) weighs in

 favor of restricting access to the Response and Exhibits 1 and 2 thereto (Docs. #61, #61-1, #61-

 2). Local Rule 7.2(a) expressly permits assigning restricted status to information that is to

 receive restricted status by statute. Pursuant to Colorado statute, in turn, certain information

 contained in the Response, Exhibit 1, and Exhibit 2 (Docs. #61, #61-1, #61-2) is

 privileged/confidential, and, therefore, should be restricted at Level 1.

         Factor 1: Identification of documents to be restricted.

         Mr. LaPlante is requesting that Docs. #61, #61-1, #61-2 be restricted.

         Factor 2: The interest to be protected outweighs the presumption in favor of public
         access.

         The Response, Exhibit 1, and Exhibit 2 (Docs. #61, #61-1, #61-2) address highly

 sensitive and personal privileged/confidential information shared during sessions with a licensed

 therapist. As a result, the Response, Exhibit 1, and Exhibit 2 require restriction at Level 1.

         Colorado statutory authority, as well as the settled caselaw interpreting it, expressly

 prohibit a licensed therapist from disclosing (i) confidential communications made by a client

 and (ii) advice given to a client:

         A licensee, registrant, or certificate holder shall not disclose, without the consent
         of the client, any confidential communications made by the client, or advice given
         to the client, in the course of professional employment.

 C.R.S. § 12-245-220(1); see also C.R.S. § 13-90-107(1)(g) (precluding examination of a licensed

 therapist regarding any communications made by a client and any advice given by the therapist).

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        Colorado statutory authority also explicitly prohibits disclosure of information shared

 during a group therapy session, such as the couples counseling sessions at issue here, by any of

 the participants:

        Any person who has participated in any therapy conducted under the supervision
        of a licensee, registrant, or certificate holder, including group therapy sessions,
        shall not disclose any knowledge gained during the course of the therapy without
        the consent of the person to whom the knowledge relates.

 C.R.S. § 12-245-220(1) (emphasis added); see also C.R.S. § 13-90-107(1)(g) (precluding

 examination of a group therapy participant regarding any knowledge gained during a group

 therapy session).

        The bottom-line purpose of the privilege is “‘to enhance the effective diagnosis and

 treatment of illness by protecting the patient from the embarrassment and humiliation’ that might

 be caused by the disclosure of information imparted by the doctor or therapist during the course

 of consultation for treatment.” Johnson v. Trujillo, 977 P.2d 152, 155 (Colo. 1999) (quoting

 Clark v. District Court, 668 P.2d 3, 8 (Colo. 1983)). The privilege, once it attaches, “prohibit[s]

 not only testimonial disclosures in court but also pretrial discovery of information within the

 scope of the privilege.” Clark, 668 P.2d at 8.

        Here, on October 22, 2021, Plaintiff endorsed Dr. Fouts as an expert witness in this case.

 Plaintiff’s expert disclosure announces Plaintiff’s intent to call Dr. Fouts to testify about “the

 psychological treatment that she administered to . . . [Mr. LaPlante];” “her opinions as to

 whether domestic violence was occurring between Plaintiff and Defendant;” and “admissions

 that were made to her by Defendant that form the basis of her physiological analysis of

 Defendant’s trauma.” (Doc. #56-1, at 1-2 (emphasis added).) This sort of content is the very



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 type of information that is supposed to be protected from disclosure by C.R.S. §§ 12-245-220(1)

 and 13-90-107(1)(g).

        Despite the obvious therapist-patient privileged nature of the information to which

 Plaintiff has endorsed Dr. Fouts to testify, and despite this Court’s prior Order striking identical

 information from Plaintiff’s Complaint as privileged and inadmissible (see Doc. #47), Plaintiff

 has refused to withdraw Dr. Fouts as an expert witness. Further, undersigned counsel has

 attempted to persuade counsel for Plaintiff, through successive emails supported by extensive

 case citation and analysis, that endorsing Dr. Fouts as an expert witness to testify against her

 former patient at trial (including as to information that she learned solely through privileged and

 confidential counseling sessions) is, based on the clear statutory authorities and caselaw

 (including this Court’s prior order), facially improper. Plaintiff remained unpersuaded, so we

 were compelled to file the Motion to Disqualify.

        Plaintiff’s Response argues that Mr. LaPlante purportedly “waived” the therapist-patient

 privilege by filing his counterclaim against Plaintiff; therefore, he contends, it was proper for

 Plaintiff to endorse Dr. Fouts as an expert witness to testify against her former patient. As more

 fully explained in Mr. LaPlante’s Motion to Disqualify, Plaintiff’s Response wholly lacks merit.3



 3 More specifically, the Colorado Supreme Court has held that “a party does not sufficiently
 inject his or her mental condition into the case so as to constitute waiver merely by seeking
 damages under a general claim of mental suffering which is incidental to the physical injuries
 underlying the suit.” Hoffman v. Brookfield Republic, Inc., 87 P.3d 858, 863 (Colo. 2004).
 Here, Mr. LaPlante is not in any of his causes of action seeking damages for any psychiatric
 treatment provided by Dr. Fouts. (See generally Doc. #50.) Nor has Mr. LaPlante asserted any
 independent tort claims that could put his mental state at issue, such as intentional or negligent
 infliction of emotional distress. Finally, Mr. LaPlante does not intend to call an expert to testify
 as to the nature and extent of any emotional distress that Mr. LaPlante may have suffered
 incidental to his physical injuries.
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 (See Doc. #56, at 12.)      Nonetheless, because the Response discusses the specifics of the

 privileged and confidential material to which Plaintiff has endorsed Dr. Fouts to testify; because

 Exhibit 1 to the Response is Plaintiff’s Expert Disclosure (which itself reveals such information);

 and because Exhibit 2 to the Response is the Fouts Letter (which this Court has previously

 ordered restricted at Level 1), the Response, Exhibit 1, and Exhibit 2 require restriction at Level

 1.   Further, because the Response, Exhibit 1, and Exhibit 2 discuss privileged/confidential

 information from therapy sessions involving Mr. LaPlante (who is not a public figure), Mr.

 LaPlante’s interest in protecting that information outweighs the presumption in favor of public

 access.     (See Doc. #24, at 3 (“Because the Complaints contain privileged and confidential

 information from Mr. LaPlante’s therapy sessions with a licensed therapist, he argues, his

 interest in protecting that sensitive information outweighs the presumption in favor of public

 access. . . . This court respectfully agrees insofar as it finds that [Mr. LaPlante’s] privacy

 interests here warrant restriction of highly sensitive information related to his therapy

 treatment.”) (internal citations omitted).)

           Factor 3: Serious injury would result absent restriction.

           If the Response, Exhibit 1, and Exhibit 2 (Docs. #61, #61-1, #61-2) are not placed on

 Level 1 restriction, then Mr. LaPlante’s confidential/privileged information derived from therapy

 sessions will continue to be publicly available. This would result in further serious injury to Mr.

 LaPlante because it would mean that his confidential/privileged information will continue to be

 open to public view.      Such an outcome would carry with it the very embarrassment and

 humiliation that the therapist-patient privilege is intended to prevent. Johnson, 977 P.2d at 155.




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        Factor 4: Plaintiff should file publicly available versions of the Response and
        Exhibit 1 that redact specific references to Mr. LaPlante’s therapy sessions and
        treatment.

        If the Response and Exhibit 1 are placed on restriction at Level 1, Plaintiff should be

 ordered to file publicly available versions of the Response and Exhibit 1 that redact specific

 references to Mr. LaPlante’s therapy sessions and treatment. This is in accordance with the

 Court’s previous clear instruction to redact “specific references to [Mr. LaPlante’s] therapy

 sessions and treatment” and that “redaction of any specific references to information contained in

 [the Fouts Letter], Paragraphs 202 through 204 of the Complaints, and/or conversations between

 the Parties and Dr. Fouts . . . strikes the appropriate balance between Mr. LaPlante’s privacy

 interests and the public interest in access to litigation materials.” (Doc. #24, at 5.)

        Exhibit 2, by contrast, which is the Fouts Letter itself, is privileged in its entirety, and,

 pursuant to this Court’s prior order, should be restricted without an accompanying publicly filed

 redacted version. (Id. at 4.)

        Factor 5: Requested level of restriction.

        Mr. LaPlante requests that Docs. #61, #61-1, and #61-2 be restricted at Level 1.

                                           CONCLUSION

        For the foregoing reasons, Mr. LaPlante requests that the Court place Docs. #61, #61-1,

 and #61-2 at Level 1 restriction.




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       DATED this 3rd day of December, 2021.


                                               Respectfully submitted,

                                               PERKINS COIE LLP


                                               By: s/ Sean B. Solis
                                                   Sean B. Solis
                                                   SSolis@perkinscoie.com
                                                   T. Markus Funk
                                                   MFunk@perkinscoie.com
                                                   Daniel Graham
                                                   DGraham@perkinscoie.com
                                                   1900 Sixteenth Street, Suite 1400
                                                   Denver, CO 80202-5255
                                                   Telephone: 303.291.2300
                                                   Facsimile: 303.291.2400

                                               Attorneys for Defendant Demian LaPlante




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on December 3, 2021, I electronically filed the foregoing with the

 Clerk of Court using the CM/ECF system which will send notification of such filing to the

 following:

              Michael Fox
              Kalamaya Goscha
              133 Prospector Road, Suite 4102x
              Aspen, CO 81611
              michael@kalamaya.law
              Attorneys for Plaintiff




                                                 By: s/ Sean B. Solis
                                                     Sean B. Solis
                                                     Perkins Coie LLP
                                                     1900 Sixteenth Street, Suite 1400
                                                     Denver, CO 80202-5255
                                                     Telephone: 303.291.2300
                                                     Facsimile: 303.291.2400
                                                     SSolis@perkinscoie.com

                                                 Attorneys for Defendant Demian LaPlante




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